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                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION


UNITED STATES OF AMERICA                             *
                                                     *
vs.                                                  *        No. 4:01CR00212-014 SWW
                                                     *
MARSHALL TINGLE                                      *


                                                 Order

       Before the Court is petitioner’s pro se motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255. The motion is denied.

       Petitioner pleaded guilty to conspiring to distribute and possess with intent to distribute

cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and 846. He was sentenced on September

30, 2003, to a term of 200 months imprisonment, five years supervised release, and a $100 special

assessment. On August 3, 2010, the Fair Sentencing Act, which reduces the crack/powder

cocaine disparity, was signed into law. Petitioner argues he is entitled to relief under that Act.1

       The Fair Sentencing Act (“the Act”) amended § 841 by, among others things, establishing

new quantity thresholds that trigger mandatory minimum and maximum penalties for offenses

involving cocaine base (crack cocaine). The Act is silent about whether the new threshold

quantities apply to conduct that occurred prior to the date of its enactment. The general savings

statute, 1 U.S.C. § 109, requires the application of the penalties in place at the time the crime was

committed, unless the new enactment expressly provides for its own retroactive application.



        1
          On March 25, 2008, the Court dismissed petitioner’s pro se motion to reduce sentence pursuant to
18 U.S.C. § 3582(c)(2) based upon the retroactive application of the crack cocaine penalty reduction imposed
by the United States Sentencing Commission, finding that because petitioner is a career criminal and the
statutory maximum is 25 years, his offense level did not change.
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Warden v. Marrero, 417 U.S. 653, 660 (1974).      The Act contains no express statement that it is

retroactive and no such express intent can be inferred from its plain language. See United States

v. Brown, No. 10-1791, 2010 WL 3958760, at *1 (8th Cir. Oct. 12, 2010)(per curiam). Thus, the

applicable penalty provision is the one in place at the time petitioner committed the crime.

       Because petitioner’s criminal conduct occurred prior to the enactment of the Fair

Sentencing Act, the petitioner’s motion to vacate, set aside, or correct sentence [doc. entry 1065]

is denied.

       SO ORDERED this 20th day of October, 2010.



                                             /s/Susan Webber Wright

                                             UNITED STATES DISTRICT JUDGE




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